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  IT IS ORDERED as set forth below:



  Date: March 9, 2020
                                                  _____________________________________
                                                              James R. Sacca
                                                        U.S. Bankruptcy Court Judge

  _______________________________________________________________

                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                     :       CHAPTER 7
                                           :
SHARON MARIE WINSTON,                      :       CASE NO. 15-66160-JRS
                                           :
         Debtor.                           :
                                           :

 ORDER APPROVING SETTLEMENT BETWEEN TRUSTEE AND DEBTOR UNDER
    RULE 9019 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

         On February 4, 2020, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estate (the “Bankruptcy Estate”) of Sharon Marie Winston (“Debtor”), filed his

Motion for Order Authorizing Settlement between Trustee and Debtor under Rule 9019 of the

Federal Rules of Bankruptcy Procedure [Doc. No. 39] (the “Motion”), seeking an order

approving a settlement agreement (the “Settlement Agreement”) between Trustee and Debtor

related to Debtor’s interest in a certain whole life insurance Policy and certain improved real




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property with a common address of address of 1117 Berry Hill Drive, Lithonia, GA 30058 (the

“Property”).1

         More specifically, under the terms of the Settlement Agreement, inter alia,2 Debtor will

liquidate her interest in the Cash Value of the Policy and transfer $32,143.90 to Trustee, which

shall be available for distribution by Trustee in accordance with 11 U.S.C. § 726, and Debtor will

amend her claimed exemptions in the Cash Value of the Policy to a claim of $0. In addition,

Trustee will abandon the interest of the Bankruptcy Estate in and to the Property upon the later

of: (a) Trustee’s receipt in full of the Transfer in the amount of $32,143.90 from Debtor in good

funds; or (b) this Settlement Approval Order becoming final.          The complete terms of the

Settlement Agreement are set forth in Exhibit “A” to the Motion.

         On February 5, 2020, Trustee filed Notice of Pleading, Deadline to Object, and for

Hearing [Doc. No. 40] (the “Notice”) regarding the Motion, in accordance with General Order

No. 24-2018. Counsel for Trustee certifies that he served the Notice on all requisite parties in

interest on February 5, 2020. [Doc. No. 41].

         The Notice provided notice of the opportunity to object and for hearing pursuant to the

procedures in General Order No. 24-2018. No objection to the Motion was filed prior to the

objection deadline provided in the Notice.

         The Court having considered the Motion and all other matters of record, including the

lack of objection to the relief requested in the Motion, and, based on the forgoing, finding that no


1
      Capitalized terms not defined herein shall have the meaning ascribed to them in the
Motion.
2
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement controls.



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further notice or hearing is necessary; and, the Court having found that good cause exists to grant

the relief requested in the Motion, it is hereby

         ORDERED that the Motion is GRANTED: the Settlement Agreement is approved and

its terms are incorporated herein. It is further

         ORDERED that Trustee may take any other actions necessary to effectuate the terms of

the Settlement Agreement. It is further

         ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce

this Order, (ii) resolve any disputes regarding or concerning the Settlement Agreement, and (iii)

enter such other and further orders as may be necessary, just, or proper as an aid to enforcement

or implementation of this Order.

                                     [END OF DOCUMENT]


Order prepared and presented by:

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Attorneys for Trustee

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Identification of entities to be served:

Office of the United States Trustee
362 Richard B. Russell Federal Building
75 Ted Turner Drive, SW
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